
35 U.S. 317 (____)
10 Pet. 317
*DAVID B. MACOMB, HENRY W. BRACKENRIDGE AND WILLIAM B. NUTTALL
v.
MARCUS A. ARMSTEAD, ADMINISTRATOR OF JOHN G. ARMSTEAD.
Supreme Court of United States.

Mr. Mason, counsel for the defendant in error, having stated to the court that the plaintiffs in error, in this cause, had lodged with the clerk of this court a transcript of the record in the cause, but had failed to have said transcript filed, or the cause, docketed, in pursuance of the rules of this court; moved the court to docket and dismiss this writ of error, under the nineteenth rule of this court for February term, 1806, and to dispense with the certificate required by said rule, but to substitute the transcript for and as a certificate. On consideration, the court was of opinion, that the defendant in error, to entitle himself to the benefit of the rule, must produce the certificate of the clerk, as required by the rule. Whereupon it was ordered by the court, that the said motion be, and the same was overruled.
